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                       UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF NEBRASKA
                                 Omaha Division

   In Re
                                                   Case No: 13-82458-TLS
   Kathleen M. Johnson, aka                        Chapter 13
   Kathleen Magdaline Johnson, aka
   Kathy Johnson,
               Debtor                              MOTION FOR RELIEF FROM
   LSF8 Master Participation Trust, by             AUTOMATIC STAY
   Caliber Home Loans, Inc., solely in
   its capacity as servicer,                        Hearing date: 03/25/2015
   its successors and assigns,                      Hearing time: 02:00 PM


                Movant.

                   STIPULATED ORDER IN SETTLEMENT OF
              THE MOTION FOR RELIEF FROM THE AUTOMATIC STAY

          COMES NOW Movant, LSF8 Master Participation Trust, by Caliber
   Home Loans, Inc., solely in its capacity as servicer, (“Movant”), by and
   through its attorney Jonathon B. Burford, and the Debtor, Kathleen M. Johnson,
   aka Kathleen Magdaline Johnson, aka Kathy Johnson, (“Debtor”) and
   Charles Johnson, (Co-Debtor) by and through their attorney, Burke Smith, and
   enter this Stipulated Order (“Order”) in settlement of the above referenced
   motion, with terms as follows:

          1)     Debtor and Co-Debtor has granted, and the parties hereto
   acknowledge, that LSF8 Master Participation Trust, by Caliber Home Loans,
   Inc., solely in its capacity as servicer, has a valid, perfected security interest in
   certain real property commonly known as 13615 Boyd Street, Omaha, NE
   68164 (the “Property”).

         2)     Debtor and Co-Debtor agrees that they were due and owing to
   Movant for 3 Post-Petition mortgage payments of $2,342.27 (January 2015
   through and including March 2015), Less Suspense -$1,760.27, and Attorney
   fees and costs of $1,026.00, totaling $6,292.54, (the “Arrearage”), as of March
   19, 2015.

   3)    Beginning April 28, 2015, and continuing the like day of each succeeding
   month thereafter, Debtor and Co-Debtor shall timely and fully make their regular


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   monthly mortgage payments to Movant due on the 1st of each month, according
   to the terms of the Note.

         4)      From and after the date of entering this Order, Debtor and Co-
   Debtor shall continuously maintain and pay for adequate insurance on the
   Property and pay all taxes attributable to the Property when due.

          5)    On or before April 15, 2015, and in addition to the payment required
   under Paragraph 3 above, Debtor and Co-Debtor shall cure the remaining
   amount of the Arrearage by making eleven (11) consecutive, additional, monthly
   payments of $524.37 and one (1) final payment of $524.47 to Movant due on the
   15th of each month, commencing April 15, 2015.


           6)    Debtor and Co-Debtor shall send mortgage payments to the
   following address while in Bankruptcy, until/unless notified otherwise by Movant,
   or its successors and assigns:

                               Caliber Home Loans
                               P.O. Box 24330
                               Oklahoma City, OK 73124

           7)     Debtor, Co-Debtor and Movant agree that if Debtor and Co-Debtor
   fails to timely or fully make either their regular mortgage payment, additional
   mortgage payments, maintain adequate insurance on the Property, or pay all
   taxes attributable to the Property, Movant shall notify Debtor, Co-Debtor and
   Debtor's counsel, in writing, of the material default. Debtor and Co-Debtor shall
   have fourteen (14) days from the date of such letter is mailed to cure said default
   IN FULL.

            8)     Debtor, Co-Debtor and Movant agree that if Debtor and Co-Debtor
   do not cure the default within the specified fourteen (14) days IN FULL, then
   Movant shall provide notice thereof to the United States Bankruptcy Court and
   relief from the automatic stay shall be granted immediately without further notice
   or hearing. In the event that a default does occur, Movant shall be entitled to
   collect all attorney fees and costs incurred in connection with such default.

          9)     Debtor, Co-Debtor and Movant agree that if Debtor and Co-Debtor,
   at any time after execution of this Stipulated Order, convert the instant Chapter
   13 bankruptcy case to a case under Chapter 7, Movant shall notify Chapter 7
   Trustee, Debtor, Co-Debtor and Debtor's counsel in writing, of the contractual
   arrearage due, if any. Debtor and Co-Debtor shall have fourteen (14) days from
   the date the letter is mailed to cure the contractual arrearage IN FULL.



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          10)    Debtor, Co-Debtor and Movant agree that if Debtor and Co-Debtor
   do not cure the contractual arrearage within the specified fourteen (14) days IN
   FULL, then Movant shall provide notice thereof to the United States Bankruptcy
   Court and relief from the automatic stay shall be granted immediately without
   further notice or hearing.

          11)    Debtor, Co-Debtor and Movant further agree that if Debtor's instant
   Chapter 13 bankruptcy case is dismissed, this stipulated order shall no longer be
   binding upon the parties as of the date of dismissal, unless agreed to otherwise
   by the parties in writing.

          12)  Debtor, Co-Debtor and Movant agree that Movant’s motion be and
   is hereby DENIED AS SETTLED.



   So Ordered:                                            March 31, 2015
                                                  Dated:__________________
    /s/Thomas L. Saladino
   _________________________________
   Honorable Judge Thomas L. Saladino
   United States Bankruptcy Judge

   By: /s/Jonathon B. Burford_____         By:/s/ Burke Smith
   Jonathon B. Burford, #59337             Burke Smith
   Attorneys for Movant                    Attorney for Debtor
   12400 Olive Blvd., Suite 555            10730 Pacific Street Suite 100
   St. Louis, MO 63141                     Omaha, NE 68114
   Phone: (314) 991-0255                   Phone: (402) 718-8865
   Fax: (314) 567-8019                     burke@burkesmithlaw.com
   nebk@km-law.com




   Copies Mailed To:

   Kathleen Johnson
   Debtor
   13615 Boyd St.
   Omaha, NE 68164

   Charles Johnson
   Co-Debtor
   13615 Boyd Street
   Omaha, NE 68164


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   Kathleen Laughlin
   Trustee
   13930 Gold Circle, Suite 201
   Omaha, NE 68144

   Patricia D. Fahey
   U.S. Trustee
   111 South 18th Plaza, Suite 1148
   Omaha, NE 68102




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